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                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7        UNITED STATES OF AMERICA,                    Case No. 22-cr-00426-JSC-1
                                                        Plaintiff,
                                   8
                                                                                         FINAL VERDICT FORM
                                                  v.
                                   9

                                  10        DAVID WAYNE DEPAPE,
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           We, the members of the Jury, have reached the following unanimous verdict:

                                  14

                                  15   COUNT ONE

                                  16   1.      We, the Jury, find the defendant DAVID WAYNE DEPAPE, as charged in Count One of

                                  17           the Indictment: (circle one)

                                  18    NOT GUILTY           GUILTY            of attempted kidnapping in violation of Title 18 United
                                                                               States Code §§ 1201(a)(5), (d)
                                  19

                                  20

                                  21   COUNT TWO

                                  22   2A.     We, the Jury, find the defendant DAVID WAYNE DEPAPE, as charged in Count Two of

                                  23           the Indictment: (circle one)

                                  24    NOT GUILTY           GUILTY            of assault in violation of Title 18 United States Code §
                                                                               115(a)(1)(A)
                                  25

                                  26   Please answer the following question only if you found the defendant guilty of Count Two;

                                  27   otherwise leave this blank:

                                  28
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                                   1   2B.   Having found the defendant DAVID WAYNE DEPAPE guilty of the offense charged in

                                   2         Count Two, do you unanimously find beyond a reasonable doubt that the defendant used a

                                   3         dangerous weapon during and in relation to the assault charged in Count Two? (circle one)

                                   4                              NO                                   YES
                                   5

                                   6

                                   7   Dated: ______________________
                                   8   Signed: ______________________
                                   9         Presiding Juror
                                  10

                                  11         IT IS SO ORDERED.
                                  12   Dated: November 15, 2023
Northern District of California
 United States District Court




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                                  14
                                                                                                JACQUELINE SCOTT CORLEY
                                  15                                                            United States District Judge
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